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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC., et                                           Chapter 11
al.,                                                                         Case No. 07-10416-KJC

                                    Debtor.


                                ORDER TERMINATING AUTOMATIC STAY
                              UNDER SECTION 362 OF THE BANKRUPTCY CODE
                                        (relates to Docket No. ____)

            UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section 362

of the Bankruptcy Code (the “Motion”) filed by U.S. Bank National Association, as Trustee for the

Structured Asset Corporation Mortgage Loan Trust, 2006-NC1 (“Movant”), and any response

thereto; the Court having determined that (A) the Court has jurisdiction over the Motion pursuant to 28

U.S.C. §§ 157 and 1334; (B) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (C) venue

is proper pursuant to 28 U.S.C. § 1409(a); and (D) service to the limited parties stated on the

Certificate of Service is adequate under the circumstances; and the Court having further determined that

cause exists to grant Movant relief from the automatic stay with respect to Movant’s exercise of any

rights and remedies against each parcel of real property listed on Exhibit A hereof (each a “Property,”

and collectively, the “Properties”) under applicable non-bankruptcy law; it is HEREBY ORDERED as

follows:

            1.          The Motion is hereby GRANTED. All capitalized terms not otherwise defined herein

shall have the respective meanings set forth in the Motion.



Movant: U.S. Bank National Association, as Trustee for the Structured Asset Corporation
   Mortgage Loan Trust, 2006-NC1
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        2.      To the extent that the automatic stay is applicable, Movant is hereby granted relief from

the automatic stay, and the automatic stay is terminated, pursuant to 11 U.S.C. § 362(d), with respect

to Movant’s interest in the Properties. Movant is hereby permitted to exercise its rights under

applicable non-bankruptcy law against each of the Properties, including but not limited to foreclosure of

any Mortgage relating to such Properties.

        3.      Nothing in this order (i) shall constitute a determination that the Debtors hold any

interest in the Property or (ii) shall estop the Debtors from denying that they hold any interest in the

Property.

        4.      This Order is immediately effective and is not stayed by operation of law,

notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).




Date:
        Wilmington, Delaware            HONORABLE KEVIN J. CAREY
                                            UNITED STATES BANKRUPTCY JUDGE




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